811 F.2d 1505Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Melvin HILL, Petitioner-Appellant,v.STATE OF MARYLAND, Howard N. Lyles, Warden of MarylandPenitentiary, Respondents-Appellees.
    No. 86-6683.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 28, 1986.Decided Feb. 2, 1987.
    
      Before RUSSELL, CHAPMAN and WILKINSON, Circuit Judges.
      Melvin Hill, appellant pro se.
      PER CURIAM:
    
    
      1
      Melvin Hill, a Maryland inmate, seeks to appeal the judgment of the district court dismissing his petition for a writ of habeas corpus brought pursuant to 28 U.S.C. Sec. 2254.  The district court entered final judgment in this case on April 17, 1986.  Hill noted his appeal on June 11, 1986, fifty-five days after entry of judgment, or twenty-five days later than the period prescribed by Fed.R.App.P. 4(a)(1).
    
    
      2
      Under Fed.R.App.P. 4(a)(1), an appeal must be noted within thirty days after the entry of judgment.  Under Fed.R.App.P. 4(a)(5) a district court, "upon a showing of excusable neglect or good cause, may extend the time for filing a notice of appeal upon motion filed not later than 30 days after the expiration [of the appeal period]."  Absent a request for extension of the appeal period, a notice of appeal filed in this second thirty-day period is untimely and ineffective to confer appellate jurisdiction.   Shah v. Hutto, 722 F.2d 1167 (4th Cir.1983) (en banc), cert. denied, 466 U.S. 975 (1984).  Therefore this Court lacks jurisdiction to hear Hill's appeal.
    
    
      3
      Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument, deny a certificate of probable cause to appeal, and dismiss this case for lack of jurisdiction.
    
    
      4
      DISMISSED.
    
    